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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

Emmanuel Garcia (20161216140),                    )
                                                  )
               Plaintiff,                         )
                                                  )           No. 21 C 6848
       v.                                         )
                                                  )           Hon. Elaine E. Bucklo
Judge Gregory Vasquez, et al.,                    )
                                                  )
               Defendants.                        )

                                              ORDER

       For the reasons stated below, this case remains closed.

                                          STATEMENT

        Cook County Jail detainee Emmanuel Garcia brought this pro se suit under 42 U.S.C. §
1983, alleging that his federal rights were violated by the actions of Judge Gregory Vasquez, ASA
Jason Poje, and Warden Heath Holland. On May 23, 2022, the Court dismissed Defendants Judge
Vasquez and ASA Poje with prejudice and dismissed any claims against Warden Holland without
prejudice to raising those claims in the proper venue (the Northern District of Florida). (See Dkt.
6.) Plaintiff has now submitted an amended complaint. (Dkt. 10.)

       Under 28 U.S.C. § 1915A, the Court is required to screen prisoners’ complaints and dismiss
the complaint, or any claims therein, if the Court determines that the complaint or claim is frivolous
or malicious, fails to state a claim on which relief may be granted, or seeks monetary relief against
an immune defendant. See Jones v. Bock, 549 U.S. 199, 214 (2007); Turley v. Rednour, 729 F.3d
645, 649 (7th Cir. 2013). Courts screen prisoners’ complaints in the same manner they review
motions to dismiss under Federal Rule of Civil Procedure 12(b)(6). Maddox v. Love, 655 F.3d 709,
718 (7th Cir. 2011).

         As the Court previously explained, a complaint must include “a short and plain statement
of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). The short and
plain statement must “give the defendant fair notice of what the claim is and the grounds upon
which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (citation omitted). The
statement also must contain sufficient factual matter, accepted as true, to “state a claim to relief
that is plausible on its face,” which means that the pleaded facts must show there is “more than a
sheer possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009). When screening a pro se plaintiff’s complaint, courts construe the plaintiff’s allegations
liberally. Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiam). Courts also must “accept all
well-pleaded facts as true and draw reasonable inference in the plaintiff’s favor.” Roberts v. City
of Chicago, 817 F.3d 561, 564 (7th Cir. 2016).
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         Plaintiff alleges that while serving a 48-month sentence in the Florida Department of
Corrections, the State of Illinois lodged a detainer against him. (Dkt. 10, pg. 4.) Plaintiff requested
a final disposition of the charges pending against him in Illinois under the Interstate Agreement on
Detainers (IAD). (Id.) On December 16, 2016, Plaintiff was transferred to Illinois for his first
appearance in the Circuit Court of Cook County for case no. 17 CR 0060901. (Id.) Cook County
Assistant State’s Attorney Jason Poje was assigned to his case. (Id.) ASA Poje failed to show up
to several court dates and could not locate the detainer agreement. (Id., pg. 5.) ASA Poje eventually
argued that the IAD did not apply. (Id.) Plaintiff requested extradition paperwork from ASA Poje,
but ASA Poje gave Plaintiff the wrong Paperwork. (Id., pg. 6.) On October 27, 2020, Plaintiff’s
counsel filed a motion to dismiss for violation of the IAD. (Id.) Plaintiff then sent a request to
Warden Holland at the FDOC for a copy of his final disposition, IAD documentation, and
temporary custody paperwork, but he never received an answer. (Id.) On July 13, 2021, Judge
Vasquez denied Plaintiff’s motion to dismiss. (Id., pg. 7.) Plaintiff is now seeking injunctive relief.

        Plaintiff, however, still fails to state a claim. In Plaintiff’s amended complaint, he alleges
that his attorney has unsuccessfully moved for dismissal of his pending criminal case in front of
Judge Vasquez citing the state trial courts inability to adhere to the IAD. Plaintiff seeks injunctive
relief. However, Judge Vasquez and ASA Poje still have absolute immunity as to Plaintiff’s
claims. In addition, this Court will not interfere in Plaintiff’s ongoing criminal proceedings. See
Younger v. Harris, 401 U.S. 37 (1971) (holding that federal courts must abstain from taking
jurisdiction over federal constitutional claims that may interfere with ongoing state proceedings);
Miller-Williams v. Howard, No. 21-2412, 2022 WL 832508, at *1 (7th Cir. Mar. 21, 2022)
(unpublished order) (“Federal courts must refrain from taking jurisdiction over federal claims that
risk disturbing ongoing state-court proceedings.”). This is the case even though Plaintiff contends
his federal constitutional rights are being violated as “[m]any a federal issue will arise in the
resolution of a proceeding under state law, but the norm is that the state tribunal handles the entire
proceeding, with review of the federal question (if one matters in the end) by the Supreme Court
rather than a federal district judge.” Nicole K. by next friend Linda R. v. Stigdon, 990 F.3d 534,
538 (7th Cir. 2021).

        In other words, this Court will not address issues raised during Plaintiff’s criminal
proceedings while those proceedings are ongoing. If Plaintiff is dissatisfied with any rulings in his
state court case, he must pursue any available state court remedies as opposed to seeking relief in
a federal civil rights action. See Tibor v. Kane County, Ill., 485 F. App’x 840, 841 (7th Cir. 2012)
(“Younger requires parties to pending state cases to present their contentions, even constitutional
ones, to the state judiciary, both trial and appellate”). Accordingly, allowing Plaintiff to proceed
on his amended complaint would be futile and this case will remain closed.



Date: July 21, 2022                                    /s/ Hon. Elaine E. Bucklo
                                                       United States District Judge



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